W. A. BAHR, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Bahr v. CommissionerDocket No. 5020.United States Board of Tax Appeals10 B.T.A. 637; 1928 BTA LEXIS 4058; February 10, 1928, Promulgated *4058  Value of land received as part consideration for the sale of real estate determined.  Certain costs of sales allowed and others disallowed on account of lack of evidence.  G. E. Hager, Esq., for the petitioner.  P. M. Clark, Esq., for the respondent.  LANSDON *637  The respondent has asserted a deficiency in income tax for the year 1920, in the amount of $2,451.17.  The only error alleged is that the respondent has overstated the petitioner's receipts from the sale in the taxable year of three tracts of farm lands.  FINDINGS OF FACT.  The petitioner is an individual.  He resided in the State of Nebraska during the taxable year and was then engaged in farming and in the purchase and sale of farm lands in that State.  Some time in the year 1919 he acquired a tract of farm land in Seward County, Nebraska, and paid therefor the amount of $95,200.  In the year 1920 the petitioner subdivided the land purchased as above, and sold approximately 320 acres thereof to one Joe Prochaska and received consideration as set forth in the deed, in the amount of $57,500, which included a cash payment of $7,500, the assumption of a mortgage by the vendee in*4059  the amount of $22,000, and a certain 160-acre tract of farm land in the same county, at a valuation of $28,000.  The petitioner paid $800 as commission on the transaction.  In the year 1920 the petitioner sold a second tract of land, acquired as above set forth, of approximately 120 acres in area to one J. C. Staufer and received therefor the amount of $25,000, as set forth in the deed.  He paid $1,000 commission on this sale.  In the year 1920 the petitioner sold the remainder of the tract purchased in 1919 to one Harrison Mnudhenke and received therefor, as set forth in the deed, consideration in the amount of $40,000, of which $11,000 was in cash and the remainder, $29,000, in notes secured *638  by a purchase-money mortgage from vendee to vendor.  To obtain cash payments on the Mundhenke notes the petitioner discounted such notes in the amount of $1,000 in some year not disclosed by the record.  The 160-acre tract of farm land received by the petitioner as consideration in part for the sale to Prochaska is about 8 miles from the town of Milford, Nebr.  It is rough and hilly upland, with a thin and stony soil, and was without fences or buildings in 1920.  At the date*4060  received by the petitioner, its fair market value was not in excess of $75 per acre, or a total of $12,000.  OPINION.  LANSDON: The parties are agreed that lands sold by the petitioner were acquired subsequent to March 1, 1913, at a cost of $95,200.  The only matters in dispute here are the sales prices received for such lands in the taxable year and some expenses alleged to have been incurred in connection with such sales.  We are convinced that the petitioner paid commissions of $800 and $1,000 on account of the lands sold to Prochaska and Staufer.  These amounts are proper deductions from the sales prices received for such lands, and should be so considered in the computation of the petitioner's gain from the transactions here in question.  Other expenses which the petitioner alleges to have incurred in the sale of these several tracts of lands do not appear to be deductible from the sales prices received for such lands.  Such claims are in the nature of attorneys' fees, traveling expenses and costs of litigation in connection with property in another county of Nebraska.  Doubtless such expenses were incurred.  Some of them have been claimed by the petitioner in his income-tax*4061  returns for the taxable year, and allowed by the respondent.  Such expenses were not incurred in connection with the transactions here involved and are not allowable as deductions from the sale price received.  The determination of the Commissioner as to these items is approved.  The record does not disclose the date of the discounts of $1,000 allowed to Mundhenke.  There is, therefore, no basis for the deduction of this amount from the sale price.  The principal contention of the petitioner is that the 160 acres of land received in part payment of the purchase price of $57,500 due from Prochaska were worth, when acquired, much less than the amount of $28,000 recited in the deed.  The petitioner asserts, and at the hearing testified that such land had a value of not more than $8,000 when received by him in 1920.  A real estate dealer of Seward, Nebr., who had been in business there for many years prior to the transaction here involved, testified that he was very familiar with land values in Seward County in 1920, and with the nature, quality *639  and value of the tract in question which, in his opinion, was worth not more than $60 an acre, or $9,600 at the date of its transfer*4062  to the petitioner.  A banker who had been cashier of a bank at Seward for 15 years and testified to knowledge of land values in that vicinity in 1920, was of the opinion that the tract in question was worth a little more than $9,600 in that year.  After a careful consideration of all the evidence we are of the opinion and have so found above, that the land in question was worth $12,000 at the date acquired by the petitioner, and should be included in that amount in the purchase price realized by the sale Prochaska.  Reviewed by the Board.  Judgment will be entered on 15 days' notice, under Rule 50.STERNHAGEN and MURDOCK dissent.  TRAMMELL dissents in part.  